                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                       )
 et al.,                                            )
                                                    )
                Plaintiffs and                      )
                Counterclaim Defendants,            )
                                                    )
 v.                                                 )        Case No. 4:16-cv-02163
                                                    )
 PEOPLE FOR THE ETHICAL                             )
 TREATMENT OF ANIMALS, INC., et al.,                )
                                                    )
                Defendants and                      )
                Counterclaim Plaintiffs.            )


  NOTICE OF WITHDRAWAL OF MOTION FOR AN ORDER COMPELLING
      DISCOVERY AGAINST COUNTERCLAIM DEFENDANT CASEY

        Pursuant to Rule 37 of the Federal Rules of Civil Procedure, on June 13, 2018,

Counterclaim Plaintiffs, People for the Ethical Treatment of Animals, Inc. and Angela Scott a/k/a

Angela G. Cagnasso (together, “Plaintiffs”) moved for an order compelling Counterclaim

Defendant Connie Braun Casey (“Casey”) to comply with this Court’s ordered deadlines to make

all required disclosures and to respond to outstanding discovery requests. [ECF Nos. 72, 73.]

       On the afternoon of June 14, 2018, Plaintiffs’ counsel received via first class mail

Casey’s amended disclosures, discovery responses, and a production of documents. Accordingly,

Plaintiffs hereby withdraw their motion to compel.

Dated: June 15, 2018                         Respectfully submitted,

                                             /s/ Jared S. Goodman
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Attorneys for Defendants/
Counterclaim Plaintiffs




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                               CERTIFICATE OF SERVICE

       I certify that on June 15, 2018, the foregoing Notice of Withdrawal of Motion for an Order

Compelling Discovery Against Counterclaim Defendant Casey was electronically filed with the

Clerk of the Court using the CM/ECF system, by which notification of such filing was

electronically sent and served to the following:

       Brian Klar, bklar@lawsaintlouis.com
       Daniel T. Batten, dbatten@lawsaintlouis.com
       Attorneys for Plaintiff/Counterclaim Defendant Connie Braun Casey

       Geordie Duckler, geordied@animallawpractice.com
       Attorney for Plaintiff/Counterclaim Defendant Andrew Sawyer

       Patrick Hanley, p.hanley@att.net
       Attorney for Plaintiff/Counterclaim Defendant Vito Stramaeglia

       And was served by regular mail on the following:

       Missouri Primate Foundation
       c/o Connie Braun Casey
       12338 State Rd. CC
       Festus, MO 63028



                                                       /s/ Jared S. Goodman




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